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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

IN RE: Melvin Williams, Jr.                           Case No. 18-30625

        Debtor

                                                      Chapter 13


                      DEBTOR'S MOTION TO SELL REAL PROPERTY

       COMES NOW, Melvin Williams, Jr. ("Debtor"), and respectfully makes as follows:

       1.     This action is brought by Plaintiff, Melvin Williams, Jr., Debtor

       2.     The Court has exclusive jurisdiction over the property in question under 28 U.S.C.

              §1334. This is a core matter.

       3.     The Debtor has filed for relief under Chapter 13 on February 9, 2018.

       4.     At the time of filing the debtor owned real estate located at 2220 Venable Street,

              Richmond, Va 23223-6463 (hereinafter referred to as “the property”)

       5.     The property in question is presently worth approximately $152,000.00.

       6.     Said property is encumbered by a lien to SN Servicing Corp. with an approximate

              payoff of $132,288.68.

       7.     The Debtor has found a buyer, Randall Martinez, willing to purchase the Real

              Property for a purchase price of $152,000.00 (contract is attached hereto as

              Exhibit A) for the property which is more fully described as follows:

       All that certain lot, piece or parcel of land with all improvements thereon, lying and being
       in the city of Richmond, Virginia, on the north line of Venable Street, between Jessamine
       and Scott Streets (now 22nd Street), beginning at the north line of Venable Street twenty
       three (23') from the northwestern intersection of Venable and Jessamine Streets; thence
       running westwardly along the north line of Venable Street and fronting there on twenty
       three feet (23'); thence extending back at right angles with Venable Street and between
       parallel lines one hundred fifty seven feet and one half feet (157.5') to an alley ten feet
       (10') wide.
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        8.      The Debtor believes that after deducting cost of sale and paying off the mortgage,

                $5000.00 towards closing costs and realtors’ fee the Debtor's share of the proceeds

                will be less than $5,000.

        9.      The Debtors will provide the Trustee with the opportunity to examine the settlement

                statement to determine that the funds that will be distributed to the Debtors do not

                exceed the Debtors' homestead exemption. Upon the Trustee's consent as evidenced by

                his signature on the Order, the Debtors will submit the Order to the Court for entry

                without a hearing in this matter.

        10.     The Debtor will provide the Trustee with the opportunity to examine the settlement

                statement to determine that the funds that will be distributed to the Debtor do not exceed

                the Debtor's homestead exemption. Upon the Trustee's consent as evidenced by her

                signature on the Order, the Debtor will submit the Order to the Court for entry without a

                hearing in this matter.

        11.     The proposed sale of the real estate does not prejudice the rights of any party.

                WHEREFORE, Debtor prays that this Court enter an Order permitting the sale of the

                said property with no hearing in this matter upon the consent of the Trustee.

Dated: May 30, 2019

                                                         Respectfully Submitted,
                                                         Melvin Williams, Jr.


                                                         By: /s/Richard S. Clinger
                                                                Counsel

Richard S. Clinger VSB #19632
422 East Franklin Street, Suite 101
Richmond, VA 23219
(804) 788-1655
Counsel for Debtor(s)
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                             CERTIFICATE OF SERVICE


     I hereby certify that on May 30, 2019, a copy of the
foregoing Motion was electronically transmitted and/or mailed to
the U.S. Truseee, the standing Chapter 13 Trustee, Daniel E.
Joslyn, McCabe, Weisberg & Conway, LLC, 312 Marshall Avenue,
#800, Laurel, MD 20707 and to all creditors and parties in
interest on the mailing list maintained by the clerk of court, a
copy of which is attached.


                                           /s/Richard S. Clinger
                                           Counsel for the Debtor(s)
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                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                         Richmond Division

IN RE:         Melvin Williams, Jr.                                       Case No. 18-30625
               xxx-xx-2146

Address:        10124 Spring Ivy Lane                                    Chapter   13
                Mechanicsville, VA 23116

                        Debtor



                                            NOTICE OF MOTION

Debtor has filed papers with the Court to request an order to Sell Real Estate.

              Your rights may be affected. You should read these papers carefully and
discuss them with your attorney, if you have one in this bankruptcy case. (If you do not
have an attorney, you may wish to consult one)

        If you do not want the Court to grant the relief sought in the motion, or if you want the
court to consider your views on the motion, then, within twenty-one (21) days from the date of
this Notice your or your attorney must:
        File with the court, at the address below, a written response for a hearing [or a written
response pursuant to Local Rule 9013-1(H)]. If you mail your request for a hearing (or response)
to the court for filing, you must mail it early enough for the court to receive it on or before the
date stated above.
                         Clerk of Court
                         United States Bankruptcy Court
                         Eastern District of Virginia
                         701 East Broad Street, Room 4000
                         Richmond, Virginia 23219

         You must also mail a copy to:

                           Richard S. Clinger, Esquire
                           422 East Franklin Street, Suite 101
                           Richmond, VA 23219




Richard S. Clinger VSB #19632
422 East Franklin Street, Suite 101
Richmond, VA 23219
(804) 788-1655
Counsel for Debtor(s)
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       9       Attend the hearing to be scheduled at a later date. You will receive a separate
               notice of hearing. If no timely response has been filed opposing the relief
               requested, the court may grant the relief without holding a hearing.

       9       Attend the hearing on the motion scheduled to be held on *** at United States
               Bankruptcy Court, Eastern District of Virginia 701 East Broad Street, Room 4000
               Richmond, Virginia 23219

       If you or your attorney do not take these steps, the Court may decide that you do not
oppose the action requested to your claim.


Date: May 30, 2019                            /s/Richard S. Clinger
                                             Richard S. Clinger VSB #19632
                                             422 East Franklin Street, Suite 101
                                             Richmond, VA 23219
                                             (804) 788-1655
                                             Counsel for Debtor(s)



                                 CERTIFICATE OF SERVICE


I hereby certify that on May 30, 2019, a copy of the foregoing
Motion was electronically transmitted and/or mailed to the U.S.
Trusee, the standing Chapter 13 Trustee, Daniel E. Joslyn,
McCabe, Weisberg & Conway, LLC, 312 Marshall Avenue, #800,
Laurel, MD 20707 and to all creditors and parties in interest on
the mailing list maintained by the clerk of court, a copy of
which is attached.


                                       /s/Richard S. Clinger
                                     Counsel for the Debtor(s)
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Label Matrix for local noticing          BSI Financial
                                              Document Services Page 6 of 7              Deutsche Bank National Trust Company, as Tru
0422-3                                   1425 Greenway Drive, Ste 400                    C/O Shapiro & Brown, LLP
Case 18-30625-KLP                        Irving, TX 75038-2480                           501 Independence Pkwy
Eastern District of Virginia                                                             Ste 203
Richmond                                                                                 Chesapeake, VA 23320-5174
Thu May 30 09:24:46 EDT 2019
US Department of Education               United States Bankruptcy Court                  BSI Financial Services
P O Box 16448                            701 East Broad Street                           P.O. Box 517
Saint Paul, MN 55116-0448                Richmond, VA 23219-1888                         Titusville, PA 16354-0517



Ballato Law Firm, P.C.                   City of Richmond City Hall                      Equifax Credit Information
3721 Westerre Parkway                    Room 109 Delinquent Taxes                       P.O. Box 740241
Suite A                                  900 East Broad Street                           Atlanta, GA 30374-0241
Henrico, VA 23233-1332                   Richmond VA 23219-1907


Equity Experts                           Henrico Federal Credit Union                    Internal Revenue Service
6632 Telegraph Rd. #339                  9401 West Broad Street                          Insolvency Units
Bloomfield Hills, MI 48301-3012          Henrico, VA 23294-5331                          P.O. Box 7346
                                                                                         Philadelphia, PA 19101-7346


Kings Charter Homeowners Assc            Melvin Williams, Jr.                            Navient Solutions, LLC. on behalf of
c/o HOA Collection Services              10124 Spring Ivy Lane                           United Student Aid Funds, Inc.
9407 Kings Charter Drive                 Mechanicsville, VA 23116-5144                   GLHEC and Affiliates
Mechanicsville, VA 23116-5119                                                            PO BOX 8961
                                                                                         Madison, WI 53708-8961

Navinet                                  Ocwen Loan Servicing, LLC                       Ocwen Mortgage
P.O. Box 9500                            Attn: Bankruptcy Department                     PO BOX 24781
Wilkes Barre, PA 18773-9500              PO Box 24605                                    West Palm Beach, FL 33416-4781
                                         West Palm Beach, Florida 33416-4605


Office of the U. S. Attorney             Office of the U. S. Trustee                     PRP II Pals Investments Trust
Suntrust Building                        701 East Broad Street, Room 4305                c/o McCabe, Weisberg & Conway, LLC
919 East Main Street, Suite 1900         Richmond, VA 23219-1885                         312 Marshall Avenue, Suite 800
Richmond, VA 23219-4622                                                                  Laurel, MD 20707-4808


Realty Industrial Loan Corp              Richard S. Clinger VSB                          Richmond City
210 East Main Street                     Richard S. Clinger                              c/o Tacs
Richmond, VA 23219-3740                  422 East Franklin Street, Suite 101             P.O. Box 31800
                                         Richmond, VA 23219-2226                         Henrico, VA 23294-1800


(p)SN SERVICING CORPORATION              U.S. BANK TRUST NATIONAL ASSOCIATION, AS TRU    U.S. Bank Trust National Association, as Tru
323 FIFTH ST                             c/o McCabe, Weisberg & Conway, LLC              c/o BSI Financial Services
EUREKA CA 95501-0305                     312 Marshall Avenue, Suite 800                  1425 Greenway Drive, Ste. 400
                                         Laurel, MD 20707-4808                           Irving, TX 75038-2480


US Bank Trust National Association       US Department of Education                      US Department of Education
SN Servicing Corporation                 61 Forsyth St SW                                PO Box 16448
323 Fifth St                             Ste 19740                                       St. Paul, MN 55116-0448
Eureka, CA 95501-0305                    Atlanta, GA 30303-8931
               Case 18-30625-KLP                Doc 69    Filed 05/30/19         Entered 05/30/19 11:43:11              Desc Main
c/o McCabe, Weisberg & Conway, LLC                   John Document
                                                          P. Fitzgerald, III Page 7 of 7                  Richard S. Clinger
312 Marshall Avenue, Suite 800                       Office of the US Trustee - Region 4 -R               422 East Franklin Street, Suite 101
Laurel, MD 20707-4808                                701 E. Broad Street, Ste. 4304                       Richmond, VA 23219-2226
                                                     Richmond, VA 23219-1849


Suzanne E. Wade
P.O. Box 1780
Richmond, VA 23218-1780




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


SN Servicing Corp.
323 5th St.
Eureka, CA 95501-0000




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u) US Bank Trust National Association, as Tr        (u)PRP II Pals Investments Trust                     (u)U.S. BANK TRUST NATIONAL ASSOCIATION, AS T




(d)Melvin Williams Jr.                               End of Label Matrix
10124 Spring Ivy Lane                                Mailable recipients    33
Mechanicsville, VA 23116-5144                        Bypassed recipients     4
                                                     Total                  37
